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                         Exhibit 3
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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate       Total                                   Description
2/15/2021   DAS      0.20   $500.00   $100.00     Discuss case with Maimon
2/15/2021   DMK      0.40   $500.00   $200.00     Learn about case, discuss w D. Schulman
2/16/2021   DMK      0.10   $500.00    $50.00     Discuss w Denise
2/17/2021   DAS      0.40   $500.00   $200.00     Review docket
2/17/2021   DAS      1.10   $500.00   $550.00     Call with Julia re: possibly co-counseling
2/17/2021   DAS      0.30   $500.00   $150.00     Research potential conflict
2/17/2021   DAS      0.10   $500.00    $50.00     Email Julia
2/17/2021   DMK      1.10   $500.00   $550.00     Call w Co-counsel re next steps
2/18/2021   DAS      0.10   $500.00    $50.00     Email co-counsel
2/18/2021   DAS      0.20   $500.00   $100.00     Review Judge Cave's rules/CMP
2/18/2021   DAS      0.20   $500.00   $100.00     Review Judge Cave's CMP and model order
2/18/2021   DAS      0.10   $500.00    $50.00     Review discovery issues
2/18/2021   DAS      0.70   $500.00   $350.00     Call with co-counsel re: discovery
2/18/2021   DAS      0.80   $500.00   $400.00     Draft proposed CMP
2/19/2021   DAS      0.20   $500.00   $100.00     review discovery issues
2/19/2021   DAS      0.30   $500.00   $150.00     Meet and confer with defense re: CMP
2/19/2021   DAS      0.20   $500.00   $100.00     Draft letter to court re: extension of time to submit CMP
2/19/2021   DAS      0.20   $500.00   $100.00     Discuss case with Maimon
2/19/2021   DMK      0.20   $500.00   $100.00     Discuss discovery issues w DAS
2/22/2021   DAS      0.10   $500.00    $50.00     Email co-counsel re: CMP
2/22/2021   DAS      0.30   $500.00   $150.00     Call with co-counsel/edit CMP
2/22/2021   DAS      0.10   $500.00    $50.00     Email defense/co-counsel re: CMP
2/24/2021   DAS      0.20   $500.00   $100.00     Review retainer
2/24/2021   DAS      0.10   $500.00    $50.00     Talk with co-counsel re: meet and confer
2/24/2021   DAS      0.10   $500.00    $50.00     Discuss retainer with Maimon

2/24/2021   DAS      0.30   $500.00    $150.00    Call with defense re: settlement/discuss same with co-counsel
2/24/2021   DAS      0.30   $500.00    $150.00    Edit retainer/email co-counsel
2/24/2021   DAS      0.10   $500.00     $50.00    Prepare for court conference
2/24/2021   DAS      0.20   $500.00    $100.00    Call with co-counsel re: mediation
2/24/2021   DMK      0.10   $500.00     $50.00    Meeting re: new rtainer agreement
2/25/2021   DAS      0.10   $500.00     $50.00    Email defense re: settlement
2/25/2021   DAS      0.10   $500.00     $50.00    Cmail co-counsel
2/25/2021   DAS      0.60   $500.00    $300.00    Prep for court conference
2/26/2021   DAS      1.00   $500.00    $500.00    Prep for court conference
2/26/2021   DAS      0.60   $500.00    $300.00    Court conference/discuss same with co-counsel
2/26/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: retainer
2/26/2021   DAS      0.30   $500.00    $150.00    Call with defense/co-counsel re: motion to dismiss
 3/1/2021   DAS      4.50   $500.00   $2,250.00   Edit mtd brief
 3/1/2021   DAS      0.30   $500.00    $150.00    Research for mtd
 3/2/2021   DAS      0.60   $500.00    $300.00    Prepare table of authorities
 3/2/2021   DAS      1.80   $500.00    $900.00    Edit mtd brief
 3/2/2021   DAS      0.20   $500.00    $100.00    Discuss settlement with Maimon
 3/2/2021   DAS      0.70   $500.00    $350.00    Review 216(b) motion
 3/2/2021   DMK      0.20   $500.00    $100.00    Meeting re: possible settlement discussions
 3/3/2021   DAS      0.10   $500.00     $50.00    Review mtd

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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate       Total                               Description
 3/3/2021   DAS      0.30   $500.00   $150.00   Call with co-counsel re: mediation
 3/3/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation
 3/3/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediation
 3/3/2021   DMK      0.20   $500.00   $100.00   Discussion re: mediation
 3/4/2021   DAS      0.40   $500.00   $200.00   Calls with defense/co-counsel re: mediation
 3/4/2021   DAS      0.10   $500.00    $50.00   Talk with Maimon
 3/4/2021   DAS      0.60   $500.00   $300.00   Draft tolling agreement/email defense re: same
 3/4/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediation
 3/4/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation
 3/4/2021   DAS      0.20   $500.00   $100.00   Discuss mediation with Maimon
 3/4/2021   DAS      0.10   $500.00    $50.00   Email defense/co-counsel
 3/4/2021   DMK      0.20   $500.00   $100.00   Discussion re: Mediation
 3/4/2021   DMK      0.20   $500.00   $100.00   Discussion re: stay of case
 3/5/2021   DAS      0.20   $500.00   $100.00   Draft letter to court
 3/5/2021   DAS      0.10   $500.00    $50.00   Sign stip/email defense/edit letters to court
 3/5/2021   DAS      0.20   $500.00   $100.00   File letters to court
 3/5/2021   DMK      0.10   $500.00    $50.00   Discussion re: stay of Case
3/10/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
3/11/2021   DMK      0.10   $500.00    $50.00   Discuss mediation w denise
3/12/2021   DAS      0.10   $500.00    $50.00   Discuss case with Maimon
3/15/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
3/15/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediation
3/16/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediator
3/16/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediator
3/17/2021   DAS      0.40   $500.00   $200.00   Call with co-counsel
3/18/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation
3/19/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediation scheduling
3/19/2021   DAS      0.10   $500.00    $50.00   Email defense re: mediation
3/19/2021   DAS      0.10   $500.00    $50.00   Email mediator
3/30/2021   DAS      0.10   $500.00    $50.00   Prep for call with mediator
3/30/2021   DAS      0.70   $500.00   $350.00   Calls with mediator and co-counsel
3/30/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation
3/31/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
 4/1/2021   DAS      0.30   $500.00   $150.00   Call with co-counsel re: mediation
 4/1/2021   DAS      0.30   $500.00   $150.00   Call with co-counsel
 4/9/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation
4/11/2021   DAS      0.30   $500.00   $150.00   Review class list/email co-counsel re: class data
4/12/2021   DAS      0.20   $500.00   $100.00   Talk with Maimon
4/12/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: mediation discovery
4/12/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
4/12/2021   DMK      0.20   $500.00   $100.00   Meet w Denise re: mediation statement
4/20/2021   DAS      0.10   $500.00    $50.00   Email defense/co-counsel re: mediation
4/20/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
4/20/2021   DAS      0.20   $500.00   $100.00   Call with co-counsel
4/21/2021   DAS      0.20   $500.00   $100.00   Email co-counsel
4/21/2021   DAS      0.50   $500.00   $250.00   Research IC status

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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate        Total                                 Description
4/21/2021   DAS      0.10   $500.00     $50.00    Review retainer
4/21/2021   DMK      0.20   $500.00    $100.00    Discuss sample production for discovery
4/22/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
4/22/2021   DAS      0.10   $500.00     $50.00    Sign mediation agreement
4/22/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
4/22/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: mediation
4/22/2021   DAS      0.40   $500.00    $200.00    Review mediation statement
4/22/2021   DAS      1.10   $500.00    $550.00    Draft mediation statement
4/22/2021   DAS      0.20   $500.00    $100.00    Email co-counsel
4/23/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
4/23/2021   DAS      0.10   $500.00     $50.00    Prep for client call (Curry)
4/23/2021   DAS      0.10   $500.00     $50.00    Review class data
4/23/2021   DAS      0.60   $500.00    $300.00    Draft mediation statement
4/23/2021   DAS      1.20   $500.00    $600.00    Client call/discuss mediation with co-counsel
4/25/2021   DAS      1.10   $500.00    $550.00    Damage calc
4/26/2021   DAS      3.40   $500.00   $1,700.00   Draft mediation statement
4/26/2021   DAS      0.10   $500.00     $50.00    Email defense
4/26/2021   DAS      0.10   $500.00     $50.00    Compiled time in case
4/26/2021   DMK      0.10   $500.00     $50.00    Discuss Mediation
4/27/2021   DAS      0.50   $500.00    $250.00    Discuss mediation with Maimon
4/27/2021   DAS      0.10   $500.00     $50.00    Draft mediation statement
4/27/2021   DMK      0.60   $500.00    $300.00    Discuss Mediation w DAS
4/27/2021   DMK      0.40   $500.00    $200.00    Legal research for mediation brief
4/28/2021   DAS      2.10   $500.00   $1,050.00   Edit mediation statement
4/28/2021   DAS      0.20   $500.00    $100.00    Email co-counsel
4/28/2021   DAS      0.40   $500.00    $200.00    Edit mediation statement
4/28/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
4/28/2021   DAS      0.20   $500.00    $100.00    Edit mediation statement
4/28/2021   DMK      0.10   $500.00     $50.00    Review Mediation statement
4/29/2021   DAS      0.20   $500.00    $100.00    Research IC status
4/30/2021   DAS      0.20   $500.00    $100.00    Update damage calc
 5/3/2021   DAS      0.10   $500.00     $50.00    Review mediation statement edits/email co-counsel
 5/3/2021   DAS      0.10   $500.00     $50.00    Update damage calc
 5/3/2021   DAS      0.20   $500.00    $100.00    Research settlement approval
 5/3/2021   DAS      0.10   $500.00     $50.00    Review mediation statement edits
 5/3/2021   DAS      1.10   $500.00    $550.00    Edit mediation statement
 5/3/2021   DAS      0.40   $500.00    $200.00    Finalize mediation statement
 5/4/2021   DAS      0.10   $500.00     $50.00    Discuss mediation with Maimon
 5/6/2021   DAS      0.20   $500.00    $100.00    Draft status update
 5/6/2021   DAS      0.10   $500.00     $50.00    Discuss case with Maimon
 5/6/2021   DAS      0.10   $500.00     $50.00    Email defense re: status update
 5/6/2021   DAS      0.40   $500.00    $200.00    Call with co-counsel re: mediation
 5/6/2021   DAS      0.10   $500.00     $50.00    Letter to court
 5/7/2021   DAS      0.10   $500.00     $50.00    File status report
5/10/2021   DAS      0.10   $500.00     $50.00    Research indemnification
5/10/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: mtd

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   Date     Biller   Time    Rate        Total                                 Description
5/10/2021   DAS      0.10   $500.00     $50.00    Email defense re: mediation
5/11/2021   DAS      0.20   $500.00    $100.00    Review consents
5/11/2021   DAS      0.40   $500.00    $200.00    Research CAFA jurisdiction/prep for meidation
5/12/2021   DAS      0.10   $500.00     $50.00    Discuss case with Maimon
5/12/2021   DAS      0.10   $500.00     $50.00    Prep for mediation
5/12/2021   DMK      0.30   $500.00    $150.00    Mediation prep
5/13/2021   DAS      0.20   $500.00    $100.00    Call with co-counsel re: mediation
5/13/2021   DAS      4.80   $500.00   $2,400.00   Mediation
5/13/2021   DAS      0.20   $500.00    $100.00    Call with co-counsel
5/13/2021   DMK      4.00   $500.00   $2,000.00   Mediation
 6/1/2021   DAS      0.10   $500.00     $50.00    Review 216(b) argument transcript
 6/1/2021   DAS      0.20   $500.00    $100.00    Discuss case with Maimon
 6/3/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
 6/3/2021   DAS      0.20   $500.00    $100.00    Research pleading jurisdiction
 6/4/2021   DAS      0.10   $500.00     $50.00    Email defense
 6/4/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery
 6/8/2021   DAS      1.20   $500.00    $600.00    Edit doc requests
 6/8/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
 6/8/2021   DAS      0.30   $500.00    $150.00    Edit doc requests
 6/8/2021   DAS      0.10   $500.00     $50.00    Discuss amended complaint with Maimon
 6/8/2021   DMK      0.20   $500.00    $100.00    Emails//discussion re: amended complaint
 6/9/2021   DAS      1.30   $500.00    $650.00    Edit doc requests
 6/9/2021   DAS      0.80   $500.00    $400.00    Edit doc requests/initial disclosures
6/10/2021   DAS      1.70   $500.00    $850.00    Edit doc requests
6/10/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery requests
6/18/2021   DAS      0.50   $500.00    $250.00    Call with co-counsel
6/18/2021   DAS      0.50   $500.00    $250.00    Edit 216(b) notices
6/18/2021   DAS      0.10   $500.00     $50.00    Review 2d Circuit decision re: willfulness
6/18/2021   DAS      0.30   $500.00    $150.00    Research successor liability
6/21/2021   DAS      0.10   $500.00     $50.00    Email defense re: 216(b) motion
6/21/2021   DAS      0.10   $500.00     $50.00    Edit notice
6/24/2021   DAS      0.10   $500.00     $50.00    Email defense re: 216(b) notice
6/25/2021   DAS      0.20   $500.00    $100.00    Email defense re: notice
6/25/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: amended complaint
6/25/2021   DAS      0.70   $500.00    $350.00    Edit 216(b) notice
6/25/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: notice
6/28/2021   DAS      2.30   $500.00   $1,150.00   Draft letter to court re: notice
6/28/2021   DAS      0.20   $500.00    $100.00    Edit letter re: notice/email defense re: same
6/28/2021   DAS      0.10   $500.00     $50.00    Review letter
6/29/2021   DAS      0.10   $500.00     $50.00    Text co-counsel re: briefing schedule
 7/8/2021   DMK      0.10   $500.00     $50.00    Discussion re amending complaint
7/16/2021   DAS      1.20   $500.00    $600.00    Review brief
7/21/2021   DAS      0.10   $500.00     $50.00    Email defense re: stip
7/21/2021   DAS      0.10   $500.00     $50.00    Email defense re: discovery
7/21/2021   DAS      0.10   $500.00     $50.00    Review stipulation
7/23/2021   DAS      0.30   $500.00    $150.00    Call with co-counsel

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                                 Ex. 3 - Joseph Kirschenbaum LLP time records

   Date      Biller   Time    Rate       Total                               Description
7/27/2021    DAS      0.20   $500.00   $100.00   Email defense re: notice
7/29/2021    DAS      0.30   $500.00   $150.00   Review notices
7/29/2021    DAS      0.70   $500.00   $350.00   Call with defense re: 216(b) notice
7/29/2021    DMK      0.10   $500.00    $50.00   Discuss status
 8/2/2021    DAS      0.10   $500.00    $50.00   Email defense re: notice
 8/2/2021    DAS      1.00   $500.00   $500.00   Edit notice/email defense
 8/3/2021    DAS      0.20   $500.00   $100.00   Email co-counsel
 8/3/2021    DAS      0.10   $500.00    $50.00   Email defense
 8/3/2021    DAS      0.10   $500.00    $50.00   Review letter to court
 8/6/2021    DMK      0.20   $500.00   $100.00   Discuss amendment
 8/8/2021    DAS      0.80   $500.00   $400.00   Edit amended complaint
8/10/2021    DAS      0.10   $500.00    $50.00   Email co-counsel re: amended complaint
8/10/2021    DAS      0.20   $500.00   $100.00   Research LLC citizenship
8/10/2021    DAS      0.10   $500.00    $50.00   Research for amended complaint
8/11/2021    DAS      0.10   $500.00    $50.00   Discuss complaint with Maimon
8/11/2021    DAS      0.10   $500.00    $50.00   Update amended complaint
8/11/2021    DMK      0.10   $500.00    $50.00   Review final amendment
8/25/2021    DAS      0.20   $500.00   $100.00   Email co-counsel
8/26/2021    DAS      0.10   $500.00    $50.00   Email defense
8/26/2021    DAS      0.10   $500.00    $50.00   Email co-counsel
8/26/2021    DAS      0.10   $500.00    $50.00   Review docket
8/26/2021    DAS      0.10   $500.00    $50.00   Review discovery requests
8/26/2021    DAS      0.30   $500.00   $150.00   Call with co-counsel
8/27/2021    DAS      0.40   $500.00   $200.00   Call with defense re: discovery
 9/2/2021    DAS      0.20   $500.00   $100.00   Review our discovery requests
9/10/2021    DAS      0.10   $500.00    $50.00   Email co-counsel
9/14/2021    DAS      0.10   $500.00    $50.00   Email defense
9/17/2021    DAS      0.10   $500.00    $50.00   Email defense
9/17/2021    DAS      0.10   $500.00    $50.00   Review discovery
9/17/2021    DAS      0.10   $500.00    $50.00   Review confidentiality order
9/17/2021    DAS      0.30   $500.00   $150.00   Call with defense re: discovery
9/23/2021    DAS      0.10   $500.00    $50.00   Email co-counsel
10/4/2021    DAS      0.10   $500.00    $50.00   Email co-counsel
10/10/2021   DAS      0.20   $500.00   $100.00   Draft letter to court/research fraudulent transfer
10/11/2021   DAS      0.10   $500.00    $50.00   Email defense
10/11/2021   DAS      0.20   $500.00   $100.00   Call with co-counsel
10/13/2021   DAS      0.20   $500.00   $100.00   Draft letter to court
10/14/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery
10/15/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
10/15/2021   DAS      0.60   $500.00   $300.00   Call with co-counsel/email defense re: discovery
10/18/2021   DMK      0.10   $500.00    $50.00   Discussion re: notice
10/19/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
10/19/2021   DAS      0.30   $500.00   $150.00   Edit 216(b) notice
10/20/2021   DAS      0.30   $500.00   $150.00   Email defense re: discovery/letter to court
10/20/2021   DAS      1.10   $500.00   $550.00   Review discovery requests
10/21/2021   DAS      0.20   $500.00   $100.00   Email co-counsel

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   Date      Biller   Time    Rate       Total                                Description
10/21/2021   DAS      0.30   $500.00   $150.00   Prepare notices/email CLT and Ruth re: same
10/22/2021   DAS      0.40   $500.00   $200.00   Call with co-counsel re: discovery
10/25/2021   DAS      0.10   $500.00    $50.00   Email defense
10/25/2021   DAS      0.10   $500.00    $50.00   Email Ruth re: notice
10/25/2021   DAS      0.20   $500.00   $100.00   Prepare email notice
10/25/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
10/25/2021   DAS      0.10   $500.00    $50.00   Update distribution list
10/25/2021   DAS      0.10   $500.00    $50.00   Email defense re: 216(b)
10/25/2021   DAS      0.10   $500.00    $50.00   Email defense re: discovery
10/26/2021   DAS      0.10   $500.00    $50.00   Prep for call with defense
10/26/2021   DAS      0.10   $500.00    $50.00   Call with defense re: discovery
10/26/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
10/27/2021   DAS      0.20   $500.00   $100.00   Email co-counsel
10/28/2021   DAS      0.10   $500.00    $50.00   Email defense
10/28/2021   DAS      0.80   $500.00   $400.00   Draft discovery resposnes
10/29/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
11/1/2021    DAS      0.50   $500.00   $250.00   Edit amended complaint
11/1/2021    DAS      0.70   $500.00   $350.00   Draft discovery responses
11/5/2021    DAS      0.20   $500.00   $100.00   Edit amended complaint
11/5/2021    DAS      0.10   $500.00    $50.00   Review deadlines
11/5/2021    DAS      0.50   $500.00   $250.00   Edit amended complaint
11/5/2021    DAS      0.30   $500.00   $150.00   Disuss complaint with Maimon
11/5/2021    DAS      0.10   $500.00    $50.00   Edit amended complaint/email co-counsel
11/5/2021    DAS      0.10   $500.00    $50.00   Email co-counsel
                                                 Finalize amended complaint/email defense re: same and
11/5/2021    DAS      0.50   $500.00   $250.00   discovery
11/5/2021    DAS      0.10   $500.00    $50.00   Review deadlines
11/8/2021    DAS      0.10   $500.00    $50.00   Update opt in list
11/9/2021    DAS      0.10   $500.00    $50.00   Email defense
11/9/2021    DAS      0.30   $500.00   $150.00   Call with Jennifer Z re: discovery
11/10/2021   DAS      0.10   $500.00    $50.00   Review new opt-in/review CAFA requirements
11/10/2021   DAS      0.10   $500.00    $50.00   Review co-counsel's email
11/12/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
11/12/2021   DAS      0.10   $500.00    $50.00   Email defense/co-counsel
11/12/2021   DAS      0.10   $500.00    $50.00   Review confidentiality agreement
11/12/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: confidentiality agreement
11/12/2021   DAS      0.10   $500.00    $50.00   Email defense re: confidentiality agreement
11/12/2021   DAS      0.60   $500.00   $300.00   Draft motion to amend
11/15/2021   DAS      0.40   $500.00   $200.00   Call with co-counsel
11/15/2021   DAS      0.10   $500.00    $50.00   Email defense re: discovery
11/18/2021   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery
11/18/2021   DAS      0.10   $500.00    $50.00   Email co-counsel
11/18/2021   DAS      0.10   $500.00    $50.00   Draft motion to amend
11/19/2021   DAS      0.40   $500.00   $200.00   Draft motion to amend
11/19/2021   DAS      0.10   $500.00    $50.00   Prep for call with defense
11/19/2021   DAS      0.20   $500.00   $100.00   Draft motion to amend

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                                 Ex. 3 - Joseph Kirschenbaum LLP time records

   Date      Biller   Time    Rate        Total                                Description
11/19/2021   DAS      0.10   $500.00     $50.00    Prep for call with defense
11/19/2021   DAS      0.40   $500.00    $200.00    Call with defense re: discovery and amended complaint
11/19/2021   DAS      0.10   $500.00     $50.00    Call with Maimon re: amended complaint
11/21/2021   DAS      2.00   $500.00   $1,000.00   Research motion to amend
11/22/2021   DAS      0.10   $500.00     $50.00    Review amended complaint issues
11/22/2021   DAS      0.10   $500.00     $50.00    Review damages
11/22/2021   DAS      0.10   $500.00     $50.00    Update opt in list
11/22/2021   DAS      0.20   $500.00    $100.00    Discuss amended complaint iwht Maimon
11/22/2021   DMK      0.50   $500.00    $250.00    Discuss amendment to complaint
11/23/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
11/23/2021   DAS      0.20   $500.00    $100.00    Research integrated employer
11/23/2021   DAS      1.10   $500.00    $550.00    Call with co-counsel and witness
11/23/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: amended complaint
11/23/2021   DAS      0.10   $500.00     $50.00    Email defense
11/23/2021   DAS      0.20   $500.00    $100.00    Draft motion to amend
11/23/2021   DAS      0.10   $500.00     $50.00    Review documents
11/23/2021   DAS      0.10   $500.00     $50.00    Draft motion to amend
11/23/2021   DAS      0.10   $500.00     $50.00    Research amendment
11/29/2021   DAS      0.10   $500.00     $50.00    Email defense
11/29/2021   DAS      0.10   $500.00     $50.00    Email defense
11/29/2021   DAS      0.10   $500.00     $50.00    Prep for call with defense
11/29/2021   DAS      0.20   $500.00    $100.00    Call with defense re: amended complaint
11/30/2021   DAS      0.10   $500.00     $50.00    Email CLT re: notice mailing
11/30/2021   DAS      0.10   $500.00     $50.00    Discuss mailing with CLT
11/30/2021   DAS      1.50   $500.00    $750.00    Edit discovery responses
11/30/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery
11/30/2021   DAS      0.10   $500.00     $50.00    Review rog responses
12/3/2021    DAS      0.10   $500.00     $50.00    Email defense
12/3/2021    DAS      0.10   $500.00     $50.00    Email co-counsel re: ESI
12/5/2021    DAS      0.20   $500.00    $100.00    Edit amended complaint
                                                   Review discovery responses/email co-counsel re: same and
12/7/2021    DAS      0.70   $500.00   $350.00     amended complaint
12/7/2021    DAS      0.10   $500.00    $50.00     Email co-counsel re: retaliation complaint
12/7/2021    DAS      0.10   $500.00    $50.00     Update opt-in list
12/7/2021    DAS      0.50   $500.00   $250.00     Draft motion to amend
12/8/2021    DAS      0.10   $500.00    $50.00     Email co-counsel re: discovery

12/8/2021    DAS      0.10   $500.00    $50.00     Review confidentiality agreement/email defense re: discovery
12/9/2021    DAS      0.10   $500.00    $50.00     Email Julia re: amended complaint
12/9/2021    DAS      1.00   $500.00   $500.00     Draft motion to amend
12/9/2021    DAS      0.10   $500.00    $50.00     Email co-counsel re: amended complaint
12/10/2021   DAS      0.10   $500.00    $50.00     Email co-counsel re: amended complaint/discovery
12/10/2021   DAS      0.10   $500.00    $50.00     Review protective order
12/10/2021   DAS      0.20   $500.00   $100.00     Email defense re: amended complaint
12/12/2021   DAS      0.80   $500.00   $400.00     Edit discovery responses
12/13/2021   DAS      0.40   $500.00   $200.00     Discuss discovery with Julia

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                                 Ex. 3 - Joseph Kirschenbaum LLP time records

   Date      Biller   Time    Rate        Total                                  Description
12/13/2021   DAS      0.30   $500.00    $150.00    Review discovery requests
12/13/2021   DAS      0.30   $500.00    $150.00    Review docs for production
12/13/2021   DAS      0.80   $500.00    $400.00    Edit discovery responses
12/13/2021   DAS      0.10   $500.00     $50.00    Review interrogatories
12/13/2021   DAS      0.10   $500.00     $50.00    Work on motion to amend
12/14/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: motion to amend
12/14/2021   DAS      0.50   $500.00    $250.00    Work on motion to amend
12/14/2021   DAS      0.60   $500.00    $300.00    Draft ESI search email
12/14/2021   DAS      0.30   $500.00    $150.00    Finalize/file motion to amend
12/15/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: ESI
12/16/2021   DAS      0.40   $500.00    $200.00    Review discovery requests
12/16/2021   DAS      0.10   $500.00     $50.00    Review ESI search terms
12/16/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery
12/16/2021   DAS      0.10   $500.00     $50.00    Review plaintiff list
12/16/2021   DAS      0.50   $500.00    $250.00    Call with co-counsel re: discovery
12/16/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: ESI
12/16/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery
12/16/2021   DAS      0.10   $500.00     $50.00    Review Melissa's discovery analysis
12/17/2021   DAS      0.10   $500.00     $50.00    Email defense re: discovery
12/20/2021   DAS      2.00   $500.00   $1,000.00   Review defendants' production
12/21/2021   DAS      0.80   $500.00    $400.00    Review defendants' production
12/22/2021   DAS      0.20   $500.00    $100.00    Review ESI issues
12/23/2021   DAS      0.10   $500.00     $50.00    Email co-counsel
12/27/2021   DAS      0.50   $500.00    $250.00    Call with co-counsel re: discovery
12/27/2021   DAS      0.10   $500.00     $50.00    Work on ESI terms
12/27/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: ESI search
12/28/2021   DAS      0.30   $500.00    $150.00    Discuss case with Maimon
12/29/2021   DAS      0.10   $500.00     $50.00    Email co-counsel re: discovery
12/29/2021   DAS      0.10   $500.00     $50.00    Review court order
12/30/2021   DAS      0.30   $500.00    $150.00    Email opt-ins re: discovery
 1/3/2022    DAS      0.20   $500.00    $100.00    Email opt-ins re: discovery
 1/4/2022    DAS      0.10   $500.00     $50.00    Email co-counsel re: mediation and discovery
 1/4/2022    DAS      0.30   $500.00    $150.00    Draft discovery responses
 1/4/2022    DAS      0.10   $500.00     $50.00    Email defense
 1/4/2022    DAS      0.10   $500.00     $50.00    Email opt-in re: discovery
 1/4/2022    DAS      0.50   $500.00    $250.00    Draft discovery responses
 1/4/2022    DAS      0.40   $500.00    $200.00    Call with opt-in (Piluso) re: discovery responses
 1/4/2022    DAS      0.10   $500.00     $50.00    Review client documents
 1/4/2022    DAS      0.50   $500.00    $250.00    Email opt-ins re: discovery
 1/4/2022    DAS      0.10   $500.00     $50.00    Try to call opt-in re: discovery
 1/4/2022    DAS      0.40   $500.00    $200.00    Call with opt-in (Jean-Charles) re: dsicovery
 1/4/2022    DAS      0.10   $500.00     $50.00    Work on discovery responses
 1/5/2022    DAS      0.30   $500.00    $150.00    Email opt-ins re: discovery
 1/5/2022    DAS      0.10   $500.00     $50.00    Email defense
 1/5/2022    DAS      0.20   $500.00    $100.00    Work on discovery responses
 1/5/2022    DAS      1.00   $500.00    $500.00    Review client documents

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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate       Total                                  Description
 1/5/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery
 1/5/2022   DAS      0.10   $500.00    $50.00   Review damages
 1/5/2022   DAS      0.10   $500.00    $50.00   Discovery responses
 1/5/2022   DAS      0.40   $500.00   $200.00   Client call (Andrews) re: discovery
 1/5/2022   DAS      0.10   $500.00    $50.00   Email client (Andrews) re: discovery
 1/6/2022   DAS      0.20   $500.00   $100.00   Email opt-ins re: discovery
 1/6/2022   DAS      0.10   $500.00    $50.00   Draft discovery responses
 1/6/2022   DAS      0.50   $500.00   $250.00   Call with co-counsel re: discovery
 1/6/2022   DAS      0.10   $500.00    $50.00   Review client docs
 1/6/2022   DAS      0.30   $500.00   $150.00   Email opt-ins re: discovery
 1/7/2022   DAS      0.10   $500.00    $50.00   Prep for call with defense
 1/7/2022   DAS      0.20   $500.00   $100.00   Draft discovery responses
 1/7/2022   DAS      0.10   $500.00    $50.00   Discovery responses
 1/7/2022   DAS      0.20   $500.00   $100.00   Review defendants' production
 1/7/2022   DAS      0.20   $500.00   $100.00   Call with defense re: medaition
 1/7/2022   DAS      0.30   $500.00   $150.00   Client call (Isis) re: discovery
 1/7/2022   DAS      0.10   $500.00    $50.00   Email opt-ins re: discovery
1/10/2022   DAS      0.20   $500.00   $100.00   Draft discovery responses
1/10/2022   DAS      0.40   $500.00   $200.00   Call with opt-in (Lyle) re: discovery
1/10/2022   DAS      0.20   $500.00   $100.00   Email Ludger re: discovery
1/10/2022   DAS      0.10   $500.00    $50.00   Review client docs
1/10/2022   DAS      0.10   $500.00    $50.00   Email opt-ins re: discovery
1/10/2022   DAS      0.10   $500.00    $50.00   Email defense re: time to answer
1/10/2022   DAS      0.10   $500.00    $50.00   Vm for opt-in
1/10/2022   DAS      0.10   $500.00    $50.00   Client call re: discovery
1/10/2022   DAS      0.30   $500.00   $150.00   Client call (Amalfi) re: discovery
1/10/2022   DAS      0.40   $500.00   $200.00   Discuss settlement and discovery with co-counsel
1/10/2022   DAS      0.10   $500.00    $50.00   Review client docs
1/10/2022   DAS      0.10   $500.00    $50.00   Email defense
1/10/2022   DAS      0.10   $500.00    $50.00   Email opt-ins re: discovery
1/11/2022   DAS      0.50   $500.00   $250.00   Client call (Merlino) re: discovery
1/11/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery
1/11/2022   DAS      0.20   $500.00   $100.00   Email opt-in re: discovery
1/11/2022   DAS      0.10   $500.00    $50.00   Call with opt-in (Piluso) re: dsicovery
1/11/2022   DAS      0.10   $500.00    $50.00   Review client docs
1/12/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery responses
1/13/2022   DAS      0.10   $500.00    $50.00   Email opt-in re: discovery
1/13/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: discovery responses
1/13/2022   DAS      0.10   $500.00    $50.00   Draft discovery responses
1/13/2022   DAS      0.20   $500.00   $100.00   Review client docs
1/13/2022   DAS      0.40   $500.00   $200.00   Call with opt-in (Ballard) re: dsicovery
1/13/2022   DAS      0.10   $500.00    $50.00   Review ESI issues
1/13/2022   DAS      0.40   $500.00   $200.00   Review client docs
1/13/2022   DAS      0.30   $500.00   $150.00   Draft discovery responses
1/13/2022   DAS      0.10   $500.00    $50.00   Email opt-in (Ballard) re: discovery
1/13/2022   DAS      0.10   $500.00    $50.00   Vm for opt-in

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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate        Total                                   Description
1/13/2022   DAS      0.40   $500.00    $200.00     Review client docs
1/13/2022   DAS      0.10   $500.00     $50.00     Email Julia re: opt-in contact info
1/14/2022   DAS      0.10   $500.00     $50.00     Review discovery responses
1/14/2022   DAS      0.60   $500.00    $300.00     Call with co-counsel
1/14/2022   DAS      0.10   $500.00     $50.00     Email defense re: discovery and mediation
1/14/2022   DAS      0.10   $500.00     $50.00     Draft discovery responses
1/14/2022   DAS      0.10   $500.00     $50.00     Email defense re: medaition
1/18/2022   DAS      0.10   $500.00     $50.00     Email clients re: discovery
1/18/2022   DAS      0.10   $500.00     $50.00     Draft discovery responses
1/18/2022   DAS      0.40   $500.00    $200.00     Client call (Dotto) re: discovery
1/19/2022   DAS      0.10   $500.00     $50.00     Email client re: discovery
1/21/2022   DAS      0.10   $500.00     $50.00     Vm for opt-in
1/21/2022   DAS      0.30   $500.00    $150.00     Call with co-counsel
1/21/2022   DAS      0.20   $500.00    $100.00     Draft discovery responses
1/24/2022   DAS      0.10   $500.00     $50.00     Email defense re: discovery
1/24/2022   DAS      0.10   $500.00     $50.00     Review outstanding discovery
1/24/2022   DAS      0.10   $500.00     $50.00     Email opt-ins re: discovery
1/24/2022   DAS      0.10   $500.00     $50.00     Review client docs
1/25/2022   DAS      0.30   $500.00    $150.00     Review client docs
1/25/2022   DAS      1.10   $500.00    $550.00     Draft deficiency letter
1/26/2022   DAS      2.00   $500.00   $1,000.00    Draft deficiency letter
1/26/2022   DAS      0.40   $500.00    $200.00     Draft rogs to contractor defendnats
1/26/2022   DAS      0.20   $500.00    $100.00     Review client docs
1/26/2022   DAS      0.70   $500.00    $350.00     Draft deficiency letter to Apple
1/27/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
1/27/2022   DAS      0.40   $500.00    $200.00     Draft deficiency letter
1/27/2022   DAS      0.20   $500.00    $100.00     Review client docs
1/28/2022   DAS      0.10   $500.00     $50.00     Email opt-in (Hughes)/review client docs
1/28/2022   DAS      0.40   $500.00    $200.00     Call with co-counsel re: discovery
1/28/2022   DAS      0.10   $500.00     $50.00     Draft discovery requests
1/31/2022   DAS      0.50   $500.00    $250.00     Review client docs
1/31/2022   DAS      0.30   $500.00    $150.00     Finalize deficiency letters
1/31/2022   DAS      0.10   $500.00     $50.00     Email defense
 2/1/2022   DAS      0.80   $500.00    $400.00     Work on discovery responses
 2/1/2022   DAS      0.20   $500.00    $100.00     Call with contractor defendants' counsel re: medaition
 2/1/2022   DAS      0.20   $500.00    $100.00     Email co-counsel re: mediation
 2/2/2022   DAS      0.20   $500.00    $100.00     Email opt-ins re: rog verification
 2/2/2022   DAS      0.20   $500.00    $100.00     Discuss discovery with co-counsel
 2/2/2022   DAS      0.10   $500.00     $50.00     Upload Anarfi verification
 2/3/2022   DAS      0.10   $500.00     $50.00     Email client re: discovery
 2/3/2022   DAS      0.50   $500.00    $250.00     Call with co-counsel re: discovery
 2/4/2022   DAS      0.10   $500.00     $50.00     Send opt-in verification via DocuSign
 2/4/2022   DAS      0.30   $500.00    $150.00     Review client docs
 2/4/2022   DAS      0.10   $500.00     $50.00     Email client re: rog responses
 2/6/2022   DAS      0.10   $500.00     $50.00     Discovery responses
2/8/2022    DAS      0.20   $500.00    $100.00     Email co-counsel re: discovery

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                                Ex. 3 - Joseph Kirschenbaum LLP time records

   Date     Biller   Time    Rate       Total                                  Description
 2/8/2022   DAS      0.10   $500.00    $50.00    Email clients re: discovery/email defense re: discovery
 2/8/2022   DAS      0.20   $500.00   $100.00    Email Ludger re: discovery
 2/8/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: medaition
 2/8/2022   DAS      0.20   $500.00   $100.00    Work on discovery responses
 2/9/2022   DAS      0.10   $500.00    $50.00    Email defense
 2/9/2022   DAS      0.30   $500.00   $150.00    Call with co-counsel
 2/9/2022   DAS      0.10   $500.00    $50.00    Email clients/co-counsel re: discovery
2/10/2022   DAS      0.20   $500.00   $100.00    Review client docs
2/10/2022   DAS      0.20   $500.00   $100.00    Email co-counsel re: discovery
2/11/2022   DAS      0.10   $500.00    $50.00    Email co-counsel
2/14/2022   DAS      0.10   $500.00    $50.00    Email defense
2/14/2022   DAS      0.60   $500.00   $300.00    Review client docs
2/15/2022   DAS      0.10   $500.00    $50.00    Discuss next steps with Maimon
2/15/2022   DAS      0.10   $500.00    $50.00    Email co-counsel
2/15/2022   DMK      0.10   $500.00    $50.00    Discuss next steps w DAS
2/16/2022   DAS      0.10   $500.00    $50.00    Email defense
2/16/2022   DAS      0.10   $500.00    $50.00    Review defendant's letter re: discovery
2/16/2022   DAS      0.20   $500.00   $100.00    Work on discovery responses
2/16/2022   DAS      0.30   $500.00   $150.00    Review outstanding discovery issues
2/16/2022   DAS      0.50   $500.00   $250.00    Call with co-counsel re: discovery
2/16/2022   DAS      0.10   $500.00    $50.00    Email defense re: ESI and other discovery issues
2/16/2022   DAS      0.10   $500.00    $50.00    Send rog verification via DocSign
2/16/2022   DAS      0.10   $500.00    $50.00    Email defense
2/17/2022   DAS      0.20   $500.00   $100.00    Email defense re: discovery
2/18/2022   DAS      0.60   $500.00   $300.00    Prepare damage calc
2/18/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: damages
2/18/2022   DAS      0.20   $500.00   $100.00    Review damages
2/18/2022   DAS      0.20   $500.00   $100.00    Work on discovery responses/call with defense re: ESI
2/18/2022   DAS      0.20   $500.00   $100.00    Discuss damages with Maimon
2/18/2022   DAS      0.20   $500.00   $100.00    Email co-counsel re: settlement
2/18/2022   DMK      0.20   $500.00   $100.00    Review damages estimates
2/21/2022   DAS      0.10   $500.00    $50.00    Email client re: rog verification
2/21/2022   DAS      0.20   $500.00   $100.00    Discuss damages with Maimon
2/23/2022   DAS      0.30   $500.00   $150.00    Call with co-counsel
2/24/2022   DAS      0.20   $500.00   $100.00    Update damage calc/email defense re: same
2/24/2022   DMK      0.10   $500.00    $50.00    Look at damages estimates
2/25/2022   DAS      0.10   $500.00    $50.00    Email defense
2/28/2022   DAS      0.40   $500.00   $200.00    Review discovery issues
2/28/2022   DAS      0.20   $500.00   $100.00    Call with defense re: discovery and mediation
 3/4/2022   DAS      0.10   $500.00    $50.00    Email defense re: discovery
 3/9/2022   DAS      0.10   $500.00    $50.00    Email defense re: bracket
3/10/2022   DAS      0.90   $500.00   $450.00    Review defendants' production
3/10/2022   DAS      0.20   $500.00   $100.00    Discuss mediation with Maimon
3/10/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: mediation
3/10/2022   DAS      0.10   $500.00    $50.00    Email defense re: ESI
3/10/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: discovery and mediation

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   Date     Biller   Time    Rate        Total                                   Description
3/10/2022   DAS      0.20   $500.00    $100.00     Review defendants' production
3/11/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: medaition
3/11/2022   DAS      0.40   $500.00    $200.00     Call with co-counsel re: mediation and discovery
3/11/2022   DAS      4.00   $500.00   $2,000.00    Review defendants' production
3/14/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
3/14/2022   DAS      0.10   $500.00     $50.00     Email defense re: call
3/14/2022   DAS      2.50   $500.00   $1,250.00    Review plaintiffs' production
3/14/2022   DAS      0.10   $500.00     $50.00     Email opt-in (Curtis) re: docs
3/14/2022   DAS      0.10   $500.00     $50.00     Review ESI issues
3/14/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: discovery
3/14/2022   DAS      0.10   $500.00     $50.00     Review discovery issues
3/14/2022   DAS      1.30   $500.00    $650.00     Calls with defense/co-counsel re: mediation
3/14/2022   DAS      0.20   $500.00    $100.00     Email defense re: discovery schedule
3/14/2022   DMK      0.30   $500.00    $150.00     Discussions re: outstanding discovery
3/15/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/15/2022   DAS      0.30   $500.00    $150.00     Call with co-counsel/prep for status conference
3/15/2022   DAS      0.10   $500.00     $50.00     Review ESI protocol
3/15/2022   DAS      0.30   $500.00    $150.00     Call with defense re: mediation
3/15/2022   DAS      0.10   $500.00     $50.00     Email Maimon
3/15/2022   DAS      0.20   $500.00    $100.00     Call with co-counsel re: mediation
3/15/2022   DAS      0.20   $500.00    $100.00     Prep for status conference
3/15/2022   DAS      0.10   $500.00     $50.00     Call with defense re: mediation
3/15/2022   DAS      0.30   $500.00    $150.00     Status conference
3/15/2022   DAS      0.30   $500.00    $150.00     Discuss mediation with Maimon
3/15/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/15/2022   DAS      0.30   $500.00    $150.00     Call with co-counsel
3/15/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/15/2022   DAS      0.10   $500.00     $50.00     Email defense re: mediation
3/15/2022   DMK      0.30   $500.00    $150.00     Discussion w DAS re: mediation
3/16/2022   DAS      0.10   $500.00     $50.00     Email Maimon re: call with defense
3/16/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/16/2022   DAS      0.10   $500.00     $50.00     Email defense
3/16/2022   DAS      0.60   $500.00    $300.00     Call with defense re: mediation
3/16/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/16/2022   DAS      0.10   $500.00     $50.00     Email defense
3/16/2022   DMK      0.70   $500.00    $350.00     Calls w Defense, DAS re: mediation
3/17/2022   DAS      0.40   $500.00    $200.00     Update ESI protocols
3/17/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
3/18/2022   DAS      0.30   $500.00    $150.00     Discuss ESI with Julia
3/18/2022   DAS      0.10   $500.00     $50.00     Call with Julia re: ESI/email defense re: same
3/18/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
3/21/2022   DAS      0.10   $500.00     $50.00     Discuss mediation with Maimon
3/21/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: mediation
3/21/2022   DAS      0.10   $500.00     $50.00     Email defense re: medaition
3/22/2022   DAS      0.10   $500.00     $50.00     Review mediation agreement
3/23/2022   DAS      0.10   $500.00     $50.00     Review ESI protocols

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   Date     Biller   Time    Rate        Total                                   Description
3/23/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: ESI
3/23/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
3/24/2022   DAS      0.20   $500.00    $100.00     Email defense re: ESI
3/29/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
 4/1/2022   DAS      0.20   $500.00    $100.00     Draft/file letter to court re: medation
 4/4/2022   DAS      0.10   $500.00     $50.00     Review initial conference order in retaliation case
 4/7/2022   DAS      0.20   $500.00    $100.00     Draft mediation statement
 4/7/2022   DAS      0.80   $500.00    $400.00     Review our production
 4/8/2022   DAS      1.20   $500.00    $600.00     Review our production
 4/8/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: discovery
 4/8/2022   DAS      0.20   $500.00    $100.00     Review defendants' production for mediation statement
 4/8/2022   DAS      1.90   $500.00    $950.00     Draft mediation statement
 4/8/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
4/10/2022   DAS      0.80   $500.00    $400.00     Draft mediation statement
4/11/2022   DAS      0.10   $500.00     $50.00     Email defense re: damage calc
4/12/2022   DAS      0.50   $500.00    $250.00     Edit mediation statement
4/14/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: discovery and mediation
4/14/2022   DAS      0.40   $500.00    $200.00     Draft mediation statement
4/15/2022   DAS      0.10   $500.00     $50.00     Draft mediation statement
4/15/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: mediation statement
4/18/2022   DAS      0.10   $500.00     $50.00     Draft mediation statement
4/18/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: mediation statement
4/18/2022   DAS      0.20   $500.00    $100.00     Edit mediation statement
4/18/2022   DAS      0.10   $500.00     $50.00     Review damages
4/18/2022   DAS      0.20   $500.00    $100.00     Finalize/submit mediation statement
4/19/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: discovery
4/21/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
4/21/2022   DAS      0.10   $500.00     $50.00     Discuss mediation with Maimon
4/21/2022   DAS      0.20   $500.00    $100.00     Mediation prep
4/24/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: mediation
4/25/2022   DAS      0.20   $500.00    $100.00     Call with co-counsel
4/25/2022   DAS      7.50   $500.00   $3,750.00    Mediation
4/25/2022   DMK      6.50   $500.00   $3,250.00    Mediation
4/27/2022   DAS      0.20   $500.00    $100.00     Call with mediator and Maimon
4/27/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: settlement
4/27/2022   DMK      0.20   $500.00    $100.00     Corr. Re: settlement
4/28/2022   DAS      0.20   $500.00    $100.00     Review opt-ins
4/28/2022   DAS      0.40   $500.00    $200.00     Call with mediator
4/28/2022   DMK      0.40   $500.00    $200.00     Call w Mediator
4/29/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: settlement
4/29/2022   DAS      0.20   $500.00    $100.00     Discuss case with Maimon
 5/2/2022   DAS      0.10   $500.00     $50.00     Email Julia re: CMP in retaliation case
 5/2/2022   DAS      0.40   $500.00    $200.00     Call with Julia/call with Maimon
 5/2/2022   DAS      0.10   $500.00     $50.00     Draft ltr to court re: mediation
 5/2/2022   DAS      0.10   $500.00     $50.00     File status update
 5/3/2022   DAS      0.10   $500.00     $50.00     Review court order

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  Date      Biller   Time    Rate      Total                                 Description
5/3/2022    DAS      0.10   $500.00   $50.00     E-mail co-counsel re: settlement
5/4/2022    DAS      0.10   $500.00   $50.00     Review CMP/email defense re: same (retaliation case)

5/4/2022    DAS      0.10   $500.00   $50.00     Update 26(f) report/email defense re: same (retalation case)
5/4/2022    DAS      0.10   $500.00   $50.00     Email defense re: discovery deadline (retaliation case)

 5/4/2022   DAS      0.20   $500.00   $100.00    Call with defense re: discovery schedule (retaliation case)
 5/4/2022   DAS      0.10   $500.00    $50.00    Finalize/file CMP
 5/4/2022   DAS      0.10   $500.00    $50.00    Email defense re: ESI
 5/6/2022   DAS      0.10   $500.00    $50.00    email co-counsel re: settlement
 5/6/2022   DAS      0.10   $500.00    $50.00    discuss case status with Maimon
5/10/2022   DAS      0.10   $500.00    $50.00    email Julia re: CMP
5/10/2022   DAS      0.20   $500.00   $100.00    call with Julia re: initial conference
5/10/2022   DAS      0.10   $500.00    $50.00    prep for initial conference
5/11/2022   DAS      0.10   $500.00    $50.00    Prep for initial conference (retaliation case(
5/11/2022   DAS      0.10   $500.00    $50.00    Review retaliation answer
5/11/2022   DAS      1.10   $500.00   $550.00    Travel time and initial conference for retaliation case
5/17/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement and discovery
5/18/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
5/20/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: initial disclosures (retaliation)
5/20/2022   DAS      0.10   $500.00    $50.00    Email Maimon re: settlement
5/20/2022   DAS      0.10   $500.00    $50.00    Discuss settlement with Maimon
5/20/2022   DMK      0.20   $500.00   $100.00    Discuss discovery w Denise
5/24/2022   DAS      0.50   $500.00   $250.00    Prepare initial disclosures (retaliation)
5/26/2022   DAS      0.10   $500.00    $50.00    Discuss settlement with Maimon
5/27/2022   DAS      0.30   $500.00   $150.00    Discuss settlement with Julia
 6/1/2022   DAS      0.10   $500.00    $50.00    Review defendants' initial disclosures (retaliation)
 6/2/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: settlement
 6/3/2022   DAS      0.10   $500.00    $50.00    Discuss settlement with Maimon
 6/7/2022   DAS      0.10   $500.00    $50.00    Email Maimon re: settlement
 6/7/2022   DMK      0.10   $500.00    $50.00    Discuss discovery w Denise
6/14/2022   DMK      0.10   $500.00    $50.00    Discuss discovery w Denise
6/15/2022   DAS      0.10   $500.00    $50.00    Call with co-counsel re: settlement
6/16/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
6/17/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
6/17/2022   DAS      0.10   $500.00    $50.00    Email defense
6/17/2022   DAS      0.20   $500.00   $100.00    Call with defense re: settlement
6/17/2022   DAS      0.10   $500.00    $50.00    Email defense
6/17/2022   DAS      0.10   $500.00    $50.00    Email co-counsel
6/17/2022   DAS      0.30   $500.00   $150.00    Discuss next steps with Maimon
6/17/2022   DAS      0.20   $500.00   $100.00    Draft status update
6/17/2022   DAS      0.40   $500.00   $200.00    Call with defense/email co-counsel
6/17/2022   DAS      0.10   $500.00    $50.00    Email co-counsel re: status update
6/17/2022   DAS      0.10   $500.00    $50.00    Email co-counsel
6/17/2022   DAS      0.10   $500.00    $50.00    Email defense
6/17/2022   DAS      0.10   $500.00    $50.00    Email co-counsel

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   Date     Biller   Time    Rate        Total                                  Description
6/17/2022   DAS      0.10   $500.00     $50.00     Call with co-counsel
6/17/2022   DAS      0.20   $500.00    $100.00     Call with co-counsel/email defense
6/17/2022   DAS      0.10   $500.00     $50.00     Call with Maimon
6/17/2022   DAS      0.20   $500.00    $100.00     Finalize/file status report
6/17/2022   DMK      0.50   $500.00    $250.00     Discussions re: nxst steps in Settlement
6/17/2022   DMK      0.90   $500.00    $450.00     Call w Apple/Marty
6/20/2022   DAS      0.50   $500.00    $250.00     Draft discovery requests (retaliation case)
6/20/2022   DAS      1.60   $500.00    $800.00     Draft response to defendants' deficiency letter
6/21/2022   DAS      0.10   $500.00     $50.00     Email Isis re: discovery
6/21/2022   DAS      0.10   $500.00     $50.00     Email defense
6/21/2022   DAS      2.60   $500.00   $1,300.00    Draft response to defendants' deficiency letter
6/21/2022   DAS      0.20   $500.00    $100.00     Email clients re: discovery issues
6/21/2022   DAS      0.10   $500.00     $50.00     Update opt-in discovery status
6/22/2022   DAS      0.40   $500.00    $200.00     Draft discovery requests (retaliation case)
6/22/2022   DAS      0.10   $500.00     $50.00     Review client emails
6/22/2022   DAS      0.10   $500.00     $50.00     Review documents
6/22/2022   DAS      2.80   $500.00   $1,400.00    Draft response to defendants' deficiency letter
6/22/2022   DAS      0.10   $500.00     $50.00     Email defense re: meet and confer
6/23/2022   DAS      0.10   $500.00     $50.00     Review client emails
6/23/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
6/23/2022   DAS      0.10   $500.00     $50.00     Call with co-counsel
6/23/2022   DAS      0.10   $500.00     $50.00     Email defense re: meet and confer
6/24/2022   DAS      0.20   $500.00    $100.00     Edit discovery requests (retaliation case)
6/24/2022   DAS      0.10   $500.00     $50.00     Email defense re: discovery (retaliation case)
6/24/2022   DAS      0.10   $500.00     $50.00     Email defense
6/24/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
6/27/2022   DAS      0.20   $500.00    $100.00     Email co-counsel re: discovery
6/27/2022   DAS      0.30   $500.00    $150.00     Call with defense re; dsicovery
6/27/2022   DAS      0.10   $500.00     $50.00     Review email from Melissa
6/27/2022   DAS      0.10   $500.00     $50.00     Draft response to deficiency letter
6/27/2022   DAS      0.10   $500.00     $50.00     Finalize/send response to deficiency letter
6/27/2022   DMK      0.20   $500.00    $100.00     Call w Denise/email Marty
6/28/2022   DMK      0.10   $500.00     $50.00     Email denise
6/29/2022   DMK      0.30   $500.00    $150.00     Discussions re: settlement
6/30/2022   DMK      0.40   $500.00    $200.00     Call w Marty
 7/1/2022   DAS      0.10   $500.00     $50.00     Email co-counsel
 7/5/2022   DAS      0.10   $500.00     $50.00     Call with co-counsel
 7/6/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement
7/11/2022   DAS      0.10   $500.00     $50.00     Email defense re: ESI
7/14/2022   DAS      0.10   $500.00     $50.00     Email defense
7/15/2022   DAS      0.10   $500.00     $50.00     Email defense

7/15/2022   DAS      0.30   $500.00   $150.00      Call with defense re: settlement/email co-counsel re: same
7/15/2022   DAS      0.10   $500.00    $50.00      Call with Maimon re: settlement
7/15/2022   DMK      0.20   $500.00   $100.00      Call w DAS re: settlement status
7/18/2022   DAS      0.10   $500.00    $50.00      Email co-counsel re: settlement

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   Date     Biller   Time    Rate       Total                                 Description
7/19/2022   DAS      0.10   $500.00    $50.00      Email co-counsel
7/19/2022   DAS      0.10   $500.00    $50.00      Email defense re: settlement
7/21/2022   DAS      0.10   $500.00    $50.00      Email defense re: status update
7/21/2022   DAS      0.20   $500.00   $100.00      Draft/file status update
7/26/2022   DAS      0.20   $500.00   $100.00      Email defense
7/26/2022   DAS      0.40   $500.00   $200.00      Talk with Maimon re: settlement
7/26/2022   DAS      0.10   $500.00    $50.00      Email co-counsel re: settlement
7/26/2022   DAS      0.30   $500.00   $150.00      Research collective settlement
7/26/2022   DAS      0.10   $500.00    $50.00      Call with Maimon re: settlement

7/26/2022   DAS      0.40   $500.00    $200.00     Call with defense re: settlement/email co-counsel re: same
7/26/2022   DAS      0.20   $500.00    $100.00     Call with Seth re: settlement
7/26/2022   DAS      0.30   $500.00    $150.00     Talk with Maimon re: settlement
7/26/2022   DMK      0.80   $500.00    $400.00     Call w DAS, email Julia
7/26/2022   DMK      0.50   $500.00    $250.00     Calls w Team re: Ds concerns about opt-ins
7/27/2022   DAS      0.80   $500.00    $400.00     Research settlement approval process
7/27/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement
7/27/2022   DAS      0.10   $500.00     $50.00     Calculate individual awards
7/28/2022   DAS      0.40   $500.00    $200.00     Review settlement agreement
7/28/2022   DAS      3.50   $500.00   $1,750.00    Edit settlement agreement
7/29/2022   DAS      0.40   $500.00    $200.00     Edit settlement agreement/email Julia re: same
7/29/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: settlement
7/29/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement agreement
7/29/2022   DMK      0.10   $500.00     $50.00     Discuss revisions to setltmeent agreement
 8/2/2022   DAS      0.10   $500.00     $50.00     Review Apple's edits to settlement agreement
 8/2/2022   DAS      0.10   $500.00     $50.00     Email defense re: Hernandez data
 8/2/2022   DMK      0.20   $500.00    $100.00     Discuss Apple's edits w DAS
 8/3/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: settlement
 8/3/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement
 8/3/2022   DAS      1.60   $500.00    $800.00     Draft settlement agreement exhibits
 8/3/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement
 8/3/2022   DAS      0.20   $500.00    $100.00     Review defendants' edits to settlement agreement
 8/4/2022   DAS      0.20   $500.00    $100.00     Review settlement agreement
 8/4/2022   DAS      0.80   $500.00    $400.00     Call with co-counsel and defense re: settlement
 8/4/2022   DAS      0.20   $500.00    $100.00     Draft/file status report
 8/4/2022   DAS      0.20   $500.00    $100.00     Research settlement approval process
 8/4/2022   DAS      0.20   $500.00    $100.00     Discuss settlement with Maimon
 8/4/2022   DMK      0.20   $500.00    $100.00     Meet re: outstanding settlement issues
 8/5/2022   DAS      0.10   $500.00     $50.00     Email co-counsel re: settlement
 8/5/2022   DAS      0.10   $500.00     $50.00     Email defense re: settlement
 8/8/2022   DAS      1.60   $500.00    $800.00     Edit settlement agreement
 8/8/2022   DAS      0.20   $500.00    $100.00     Email co-counsel re: settlement
 8/9/2022   DAS      0.30   $500.00    $150.00     Review Hernandez invoices
 8/9/2022   DAS      0.10   $500.00     $50.00     Edit settlement papers/email defense re: same
 8/9/2022   DAS      0.10   $500.00     $50.00     Discuss settlement with Maimon
 8/9/2022   DMK      0.10   $500.00     $50.00     Meeting re: status of settlement

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   Date     Biller   Time    Rate       Total                                 Description
8/11/2022   DAS      0.30   $500.00   $150.00   Edit settlement papers
8/11/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: settlement
8/11/2022   DAS      0.20   $500.00   $100.00   Edit settlement papers
8/11/2022   DAS      0.10   $500.00    $50.00   Email co-counsel re: settlement
8/23/2022   DAS      0.10   $500.00    $50.00   Email Julia re: Mary Hernandez
8/23/2022   DAS      0.10   $500.00    $50.00   Email Julia re: settlement
8/24/2022   DAS      0.10   $500.00    $50.00   Email Julia re: Mary Hernandez
8/24/2022   DAS      0.30   $500.00   $150.00   Call with Julia re: settlement
8/24/2022   DAS      0.50   $500.00   $250.00   Review damages
8/24/2022   DMK      0.10   $500.00    $50.00   Meet re: outstanding settlement issues
8/25/2022   DAS      0.10   $500.00    $50.00   Email defense re: claims admin
                                                Draft email to claims admin/review collective list/email co-
8/25/2022   DAS      0.60   $500.00    $300.00 counsel re: missing info on collective list
8/25/2022   DAS      3.40   $500.00   $1,700.00 Draft settlement approval letter
8/26/2022   DAS      0.80   $500.00    $400.00 Draft settlement approval letter
8/29/2022   DAS      0.10   $500.00     $50.00  Email Julia re: Mary Hernandez
8/30/2022   DAS      0.10   $500.00     $50.00  Email co-counsel re: settlement
 9/1/2022   DAS      0.10   $500.00     $50.00  Email Julia re: settlement issues/request admin estimate
 9/2/2022   DAS      0.10   $500.00     $50.00  Review email from Julia re: settlement
 9/2/2022   DAS      0.10   $500.00     $50.00  Email Julia re: Mary Hernandez
 9/2/2022   DAS      0.20   $500.00    $100.00 Call with SSI re: admin bid
 9/7/2022   DAS      0.10   $500.00     $50.00  Email defense/co-counsel re: settlement
 9/7/2022   DAS      0.10   $500.00     $50.00  Request admin estimate
 9/7/2022   DAS      0.70   $500.00    $350.00 Draft settlement approval letter
 9/7/2022   DAS      0.10   $500.00     $50.00  Draft letter to court re: extension of time
 9/7/2022   DAS      0.10   $500.00     $50.00  Discuss settlement issues with Maimon
 9/7/2022   DAS      0.10   $500.00     $50.00  Finalize/file letter to court
 9/7/2022   DAS      0.10   $500.00     $50.00  Review Rust estimate
 9/7/2022   DMK      0.10   $500.00     $50.00  Meet re: outstanding settlement issues
 9/8/2022   DAS      0.20   $500.00    $100.00 Email co-counsel re: settlement
 9/9/2022   DAS      0.10   $500.00     $50.00  Email Rust re: estimate
9/12/2022   DAS      0.20   $500.00    $100.00 Email co-counsel re: Jackie's hours
9/13/2022   DAS      0.10   $500.00     $50.00  Email Julia
9/13/2022   DAS      0.10   $500.00     $50.00  Email defense re: settlement
9/13/2022   DAS      0.20   $500.00    $100.00 Call with defense re: settlement
9/13/2022   DAS      0.10   $500.00     $50.00  Email co-counsel re: settlement
9/19/2022   DAS      0.50   $500.00    $250.00 Edit settlement agreement
9/19/2022   DAS      0.10   $500.00     $50.00  Update collective list
9/19/2022   DAS      0.30   $500.00    $150.00 Edit notice
9/20/2022   DAS      0.10   $500.00     $50.00  Emal co-counsel re: settlement
9/20/2022   DAS      0.10   $500.00     $50.00  Email defense re: settlement
9/20/2022   DAS      0.70   $500.00    $350.00 Call with Julia re: settlement
9/21/2022   DAS      0.10   $500.00     $50.00  Discuss settlement with Maimon
9/21/2022   DMK      0.10   $500.00     $50.00  Meet re: outstanding settlement issues
9/22/2022   DAS      0.20   $500.00    $100.00 Review Mary Hernandez records
9/22/2022   DAS      0.40   $500.00    $200.00 Update collective list

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                                  Ex. 3 - Joseph Kirschenbaum LLP time records

    Date      Biller   Time    Rate      Total                                 Description

 9/22/2022    DAS      0.20   $500.00   $100.00    Edit approval letter/email defense re: settlement approval
 9/22/2022    DAS      0.10   $500.00    $50.00    Email co-counsel re: collective list
 9/23/2022    DAS      0.20   $500.00   $100.00    Review settlement agreement
 9/28/2022    DAS      0.10   $500.00    $50.00    Email defense re: settlement
 9/28/2022    DAS      0.10   $500.00    $50.00    Email defense re: settlement
 9/28/2022    DAS      0.20   $500.00   $100.00    Draft/file letter to court
 9/30/2022    DMK      0.10   $500.00    $50.00    Meet re: outstanding settlement issues
 10/3/2022    DAS      0.10   $500.00    $50.00    Email defense re: settlement
 10/6/2022    DAS      0.10   $500.00    $50.00    Email co-counsel re: settlement approval
 10/6/2022    DAS      0.50   $500.00   $250.00    Edit Cheeks letter
 10/7/2022    DAS      0.10   $500.00    $50.00    Email co-counsel
 10/7/2022    DAS      0.20   $500.00   $100.00    Edit Cheeks letter
 10/12/2022   DAS      0.20   $500.00   $100.00    Email defense re: settlement
 10/12/2022   DAS      0.20   $500.00   $100.00    Draft letter to court re: extension
 10/14/2022   DAS      0.10   $500.00    $50.00    Call with Robert Williams re: case status
 10/19/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
 10/24/2022   DAS      0.40   $500.00   $200.00    Edit settlement agreement
 10/25/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
 10/27/2022   DAS      0.10   $500.00    $50.00    Email defense re: settlement
                                                   Edit exhibits/draft letter to court/email co-counsel re: time
 10/27/2022    DAS    0.20 $500.00 $100.00         records
 10/27/2022    DAS    0.20 $500.00 $100.00         Call with Julia re: settlement
              Total: 243.70       $121,850.00


D. Maimon Kirschenbaum (DMK) total hours: 24.2
Denise Schulman (DAS) total hours: 219.5




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